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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                 8:13CR314
                     Plaintiff,               )
                                              )
      vs.                                     )            DETENTION ORDER
                                              )
JACKLYNN WALKER,                              )
                                              )
                     Defendant.               )

A. Order For Detention
   After waiving a detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail Reform
   Act on September 10, 2013, the Court orders the above-named defendant detained
   pursuant to 18 U.S.C. § 3142(e) and (i).

B. Statement Of Reasons For The Detention
   The Court orders the defendant’s detention because it finds:
     X By a preponderance of the evidence that no condition or combination of
         conditions will reasonably assure the appearance of the defendant as required.
    X    By clear and convincing evidence that no condition or combination of conditions
         will reasonably assure the safety of any other person or the community.

C. Finding Of Fact
   The Court’s findings are based on the evidence which was presented in court and
   contained in the Pretrial Services Report, and includes the following:
     X (1) Nature and circumstances of the offense charged:
           X     (a) The crime: a conspiracy to distribute methamphetamine (Count I) in
                     violation of 21 U.S.C. § 846 carries a minimum sentence of five
                     years imprisonment and a maximum of forty years imprisonment.
                 (b) The offense is a crime of violence.
                 (c) The offense involves a narcotic drug.
                 (d) The offense involves a large amount of controlled substances, to
                     wit:

            (2) The weight of the evidence against the defendant is high.
     X      (3) The history and characteristics of the defendant including:
                  (a) General Factors:
                        X      The defendant appears to have a mental condition which
                               may affect whether the defendant will appear.
                               The defendant has no family ties in the area.
                        X      The defendant has no steady employment.
                        X      The defendant has no substantial financial resources.
                               The defendant is not a long time resident of the community.
                        X      The defendant does not have any significant community
                               ties.
                               Past conduct of the defendant:
                        X      The defendant has a history relating to drug abuse.
                               The defendant has a history relating to alcohol abuse.
                        X      The defendant has a significant prior criminal record.
                               The defendant has a prior record of failure to appear at
                               court proceedings.
                  (b) At the time of the current arrest, the defendant was on:
                               Probation
                               Parole
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                              Release pending trial, sentence, appeal or completion of
                              sentence.
                  (c) Other Factors:
                              The defendant is an illegal alien and is subject to
                              deportation.
                              The defendant is a legal alien and will be subject to
                              deportation if convicted.
                              The Bureau of Immigration and Custom Enforcement
                              (BICE) has placed a detainer with the U.S. Marshal.
                              Other:

      X    (4) The nature and seriousness of the danger posed by the defendant’s
               release are as follows: The nature of the charges in the Indictment and the
               defendant’s substance abuse and criminal history.

      X    (5) Rebuttable Presumptions
               In determining that the defendant should be detained, the Court also relied
               on the following rebuttable presumption(s) contained in 18 U.S.C. §
               3142(e) which the Court finds the defendant has not rebutted:
             X    (a) That no condition or combination of conditions will reasonably
                      assure the appearance of the defendant as required and the safety
                      of any other person and the community because the Court finds that
                      the crime involves:
                               (1) A crime of violence; or
                               (2) An offense for which the maximum penalty is life
                                    imprisonment or death; or
                        X      (3) A controlled substance violation which has a maximum
                                    penalty of 10 years or more; or
                               (4) A felony after the defendant had been convicted of two
                                    or more prior offenses described in (1) through (3)
                                    above, and the defendant has a prior conviction for
                                    one of the crimes mentioned in (1) through (3) above
                                    which is less than five years old and which was
                                    committed while the defendant was on pretrial release.
             X    (b) That no condition or combination of conditions will reasonably
                      assure the appearance of the defendant as required and the safety
                      of the community because the Court finds that there is probable
                      cause to believe:
                        X      (1) That the defendant has committed a controlled
                                    substance violation which has a maximum penalty of
                                    10 years or more.
                               (2) That the defendant has committed an offense under 18
                                    U.S.C. § 924(c) (uses or carries a firearm during and
                                    in relation to any crime of violence, including a crime of
                                    violence, which provides for an enhanced punishment
                                    if committed by the use of a deadly or dangerous
                                    weapon or device).

D. Additional Directives
   Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:
         1. The defendant be committed to the custody of the Attorney General for
              confinement in a corrections facility separate, to the extent practicable from
              persons awaiting or serving sentences or being held in custody pending
              appeal; and
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         2.   The defendant be afforded reasonable opportunity for private consultation
              with counsel; and
         3.   That, on order of a court of the United States, or on request of an attorney
              for the government, the person in charge of the corrections facility in which
              the defendant is confined deliver the defendant to a United States Marshal
              for the purpose of an appearance in connection with a court proceeding.

DATED:   September 12, 2013.            BY THE COURT:

                                        s/ Thomas D. Thalken
                                        United States Magistrate Judge
